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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            )
                                    )
      v.                            )              Case No. 21-cr-00286-BAH
                                    )
GRADY DOUGLAS OWENS,                )
                  Defendant.        )
____________________________________)

                    ORDER TO DELAY TRANSFER OF DEFENDANT

       By agreement of the Parties, Defendant Grady Douglas Owens is hereby ORDERED to

remain in the Middle District of Florida until resolution of his Motion for Review and

Revocation of Detention pursuant to 18 U.S.C. § 3145(b). The Speedy Trial Act time parameters

are hereby tolled from the date of Defendant’s arraignment on April 16, 2021 until resolution of

this Motion.


SO ORDERED, this 13th day of May, 2021.


                                                   __________________
                                                   BERYL A. HOWELL
                                                   Chief Judge
